

People v Miranda (2021 NY Slip Op 04203)





People v Miranda


2021 NY Slip Op 04203


Decided on July 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 06, 2021

Before: Acosta, P.J., Kapnick, Moulton, Scarpulla, JJ. 


Ind No. 1286/16 Appeal No. 14169 Case No. 2019/2951 

[*1]The People of the State of New York, Respondent,
vAngel Miranda, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Paul Wiener of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Grace Phillips of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Ralph Fabrizio, J.), rendered February 7, 2018, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the third degree, and sentencing him to 5 years' probation, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied __ US __, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]). The plea court separately explained the right to appeal and separated it from the trial rights waived by a guilty plea, explaining that it was a specific condition of the People's plea offer (see People v Sanders, 25 NY3d 337, 341 [2015]). The rights given up by an appeal waiver were also described accurately and in detail in the written waiver form. Defendant confirmed on the record that he understood the waiver, and had discussed it with his attorney (see Thomas, 34 NY3d at 560). The waiver forecloses review of defendant's suppression and excessive sentence claims.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 6, 2021








